     Case 2:05-cv-00852-MEF-TFM Document 29 Filed 01/08/07 Page 1 of 17




                    IN THE UNITED STATES DISTRICT COURT FOR
                        THE MIDDLE DISTRICT OF ALABAMA
                               NORTHERN DIVISION

TERI SCHWEERS,                                )
                                              )
       Plaintiff,                             )
v.                                            )          CASE NO. 2:05-cv-852-MEF
                                              )                     (WO)
MONTGOMERY PUBLIC SCHOOLS,                    )
                                              )
       Defendant.                             )

                      MEMORANDUM OPINION AND ORDER

       Plaintiff brings suit against Defendant Montgomery Public Schools, alleging that it

discriminated against her in violation of the Age Discrimination in Employment Act of

1967, 29 U.S.C. § 621, et seq. (“ADEA”), and the Americans with Disabilities Act of 1990,

42 U.S.C. § 12101 et seq. (“ADA”). Plaintiff seeks compensatory and punitive damages,

injunctive relief, and attorney’s fees and costs. This cause is presently before the Court on

Defendant’s Motion for Summary Judgment (Doc. # 15). The Court has carefully considered

the pleadings, briefs, and evidentiary submissions. For the reasons stated herein, Defendant’s

motion is due to be GRANTED.

                                 I. Jurisdiction and Venue

       The Court exercises subject matter jurisdiction over this action pursuant 28 U.S.C. §

1331 (federal question), 29 U.S.C. § 621, et seq. (ADEA), and 42 U.S.C. § 12101 et seq.

(ADA). The parties contest neither personal jurisdiction nor venue, and the Court finds a

sufficient factual basis for each.
     Case 2:05-cv-00852-MEF-TFM Document 29 Filed 01/08/07 Page 2 of 17




                             II. Summary Judgment Standard

       Under Rule 56(c) of the Federal Rules of Civil Procedure, summary judgment is

appropriate “if the pleadings, depositions, answers to interrogatories, and admissions on file,

together with the affidavits, if any, show that there is no genuine issue as to any material fact

and that the moving party is entitled to a judgment as a matter of law.” Fed. R. Civ. P. 56(c).

“A genuine issue of material fact does not exist unless there is sufficient evidence favoring

the nonmoving party for a reasonable jury to return a verdict in its favor.” Chapman v. AI

Transp., 229 F.3d 1012, 1023 (11th Cir. 2000) (en banc) (quoting Haves v. City of Miami,

52 F.3d 918, 921 (11th Cir. 1995) (internal quotation marks and citations omitted)).

       The party seeking summary judgment “always bears the initial responsibility of

informing the district court of the basis for its motion, and identifying those portions of ‘the

pleadings, depositions, answers to interrogatories, and admissions on file, together with the

affidavits, if any,’ which it believes demonstrate the absence of a genuine issue of material

fact.” Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). The movant can meet this burden

by presenting evidence showing there is no dispute of material fact, or by showing the

nonmoving party has failed to present evidence in support of some element of its case on

which it bears the ultimate burden of proof. Id. at 322-23.

       Once the moving party has met its burden, Rule 56(e) “requires the nonmoving party

to go beyond the pleadings and by [its] own affidavits, or by the ‘depositions, answers to

interrogatories, and admissions on file,’ designate ‘specific facts showing that there is a

genuine issue for trial.’” Id. at 324. To avoid summary judgment, the nonmoving party

                                               2
     Case 2:05-cv-00852-MEF-TFM Document 29 Filed 01/08/07 Page 3 of 17




“must do more than simply show that there is some metaphysical doubt as to the material

facts.” Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586 (1986). On the

other hand, a court ruling on a motion for summary judgment must believe the evidence of

the nonmovant and must draw all justifiable inferences from the evidence in the nonmoving

party’s favor. See, e.g., Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255 (1986);

McCormick v. City of Fort Lauderdale, 333 F.3d 1234, 1243 (11th Cir. 2003) (the evidence

and all reasonable inferences from the evidence must be viewed in the light most favorable

to the nonmovant). After the nonmoving party has responded to the motion for summary

judgment, the court must grant summary judgment if there is no genuine issue of material

fact and the moving party is entitled to judgment as a matter of law. See Fed. R. Civ. P.

56(c).

                            III. Facts and Procedural History

         The Court has carefully considered all documents submitted in support of and in

opposition to the motion. Viewed in the light most favorable to Plaintiff, the submissions

of the parties establish the following relevant facts:

         The process of hiring teachers for kindergarten through third grade in the

Montgomery County Schools begins with an application to the central office. All applicants

are interviewed by Director of Certified Personnel Carolyn Hicks (“Hicks”), who is over the

age of sixty-five. After the interview, if there is no problem with the applicant’s certification

or background, Hicks puts the applicant’s name and phone number on a list. She sends that

list to the schools, and the principal selects interviewees from the list. The central office

                                               3
     Case 2:05-cv-00852-MEF-TFM Document 29 Filed 01/08/07 Page 4 of 17




asks that the principal interview three to five candidates, but sometimes a principal will

interview more than that. Occasionally, a principal will want to hire someone not on the list,

but that person is still required to go through the central office. After the principal

interviews a candidate and decides that she wants to hire the candidate, the principal makes

a recommendation to the superintendent. The superintendent makes the ultimate hiring

decision, but almost always relies on the principal’s recommendation.

       The principal makes the decision to nonrenew a teacher’s employment at the end of

the school year. Each principal meets with Hicks, and they review the nonrenewal

recommendations and prepare a write-up to send to the school board for approval. It would

be highly unusual, however, for a principal’s recommendation to be rejected for either

hiring, assuming the candidate is on the qualified list, or nonrenewal.

       The school system uses the Alabama Professional Education Personnel Evaluation

Program (“PEPE”) to evaluate a teacher’s performance in the classroom, although it is not

used in hiring or nonrenewal decisions. It is a “snapshot” of what is going on in the

teacher’s classroom, with a supervisor making an announced or unannounced visit to the

classroom and observing the teacher’s performance. Scores range from 1 to 4. A score of

1 means that the teacher’s performance is unsatisfactory; 2 means that the performance needs

improvement; 3 means that the performance could be improved in some areas, but that

current performance is clearly acceptable; and 4 means that the teacher demonstrates

excellence and that no area for improvement is readily identifiable.

       Plaintiff is currently forty-eight years old. She has a Professional Educator Certificate

                                               4
     Case 2:05-cv-00852-MEF-TFM Document 29 Filed 01/08/07 Page 5 of 17




from the Alabama Department of Education for Early Childhood, Preschool through Third

Grade. From 1981 through 1989, and from 1993 until 2001, Plaintiff taught in the Autauga

County Schools. From 1989 until 1991, she taught in the Montgomery County Public

Schools. During the 1992-1993 school year, she taught in the Monroe County Schools.

       Plaintiff returned to teach in the Montgomery County Schools for the 2001-2002

school year. During that year, she taught third grade at Halcyon Elementary. Both Pam

Morgan (“Morgan”), the principal, and Shirley Brooks (“Brooks”), the assistant principal,

are older than Plaintiff. Plaintiff never had any conversations with either Morgan or Brooks

regarding her age. She felt that she had a good relationship with Morgan. Based on the

PEPE records submitted by Plaintiff, she scored mostly 3s with some 4s. However, she had

a number of 2s, indicating a need for improvement, including the areas of preparing

resources, giving clear directions, developing the lesson, and managing class time. At the

end of the school year Plaintiff was nonrenewed.

       Plaintiff obtained a position teaching first grade at MacMillan International Academy

for Humanities, Communications, and Technology, a magnet technology school, for the

2002-2003 school year. Plaintiff did not have any problems with Cathy Maxey (“Maxey”),

the principal, and did not have any problems with her evaluations. Maxey, who is older than

Plaintiff, never did or said anything to lead Plaintiff to believe that she had a negative

impression about Plaintiff because of her age or about older teachers in general. Based on

the PEPE records presented by Plaintiff, she received mostly 3s with two 4s. She also

received several 2s, indicating a need for improvement, in the areas of demonstrating

                                             5
     Case 2:05-cv-00852-MEF-TFM Document 29 Filed 01/08/07 Page 6 of 17




knowledge, communicating high expectations, and expressing a positive affect. After the

2002-2003 school year, Maxey decided not to renew Plaintiff’s employment and hired a

younger teacher to replace Plaintiff.

       Following her nonrenewal at MacMillan, Plaintiff talked to Hicks about being placed

at another school. Hicks said that it would be difficult to place her in another position with

her two previous nonrenewals. Plaintiff talked with some principals that summer, but did

not have any interviews. Plaintiff talked with Brooks, who was then the principal at

Halcyon, but was not hired there. Plaintiff felt that she was not hired as a result of her age

because the teachers that were hired were much younger. She also talked to the principal

of Wares Ferry Road Elementary and was not offered a position, but Plaintiff does not

believe that this was because of her age.

       Plaintiff telephoned Hicks several times during the summer of 2003 seeking another

position. During one of the calls, Hicks asked Plaintiff if she would work as a substitute

at Morningview Elementary, and Plaintiff agreed to take the position. She taught third grade

for four days. On Plaintiff’s fourth and final day at Morningview, Hicks called Jerry Hooks,

the principal at Morningview, and told him that she had found Plaintiff a position to

interview for at Vaughn Road Elementary.

       Plaintiff interviewed for the Vaughn Road Elementary position with the principal,

Linda Sexton (“Sexton”), who is older than Plaintiff. She was offered and accepted the

position. Plaintiff never had any problems with Sexton and was never reprimanded or

corrected by her. When she began at Vaughn Road Elementary, Plaintiff took six all-day

                                              6
     Case 2:05-cv-00852-MEF-TFM Document 29 Filed 01/08/07 Page 7 of 17




Saturday classes on Read Well, a reading program that was implemented that year. Dr.

Nichols, a reading coach from the central office, visited Plaintiff’s class and told her that she

was doing an excellent job with Read Well. Based on the PEPE records submitted by

Plaintiff, her PEPE scores at Vaughn Road were mostly 3s with several 4s. She also

received several 2s, including in areas of seeking outside help for students, involving

students, managing class time, developing the lesson, providing practice/summarization.

Plaintiff also received a certificate “recogniz[ing] [her] as an Outstanding Reading Teacher,”

from the Montgomery Public Schools Department of Curriculum & Instruction. Defendant

sent Plaintiff a letter dated May 19, 2004, informing her that her contract of employment

would not be renewed.

       About a month after Plaintiff was nonrenewed, Sexton retired and was replaced by

Brenda Lindsey (“Lindsey”), who is over fifty years of age. When Plaintiff went to turn in

her key, Lindsey asked her if she would be willing to work at Vaughn Road Elementary, and

Plaintiff responded that she would. Lindsey said that she thought she would have a

kindergarten teacher position open, but that she would have to talk to “downtown.” When

Plaintiff talked to her again, Lindsey said that she couldn’t offer Plaintiff a position and that

it was out of her hands. Lindsey states that she was not interested in hiring Plaintiff because

she had been nonrenewed three times by three different principals, and if she were hired she

would gain tenure. Lindsey states that she does not hire teachers without tenure who will

immediately gain tenure if hired, because if she has problems with their performance, she

will not have the opportunity to recommend their nonrenewal.

                                               7
     Case 2:05-cv-00852-MEF-TFM Document 29 Filed 01/08/07 Page 8 of 17




         Following her nonrenewal, during the summer of 2004, Plaintiff met with Hicks.

Hicks told Plaintiff that it would be difficult to place her with three nonrenewals. She told

Plaintiff that maybe she should go to another system and call her back the next year.

However, Plaintiff’s name was put on the list of applicants from which the principals could

choose. Several principals showed some interest in considering Plaintiff that summer. She

interviewed with Susan Crockett, Jason Lowe, and Jerry Hooks. None of the principals

recommended hiring her. Several of the principals told her that the decision was out of their

hands.

         Hicks sent Plaintiff to interview at Thelma Smiley Morris Elementary, where she

interviewed with the principal, Sophia Johnson (“Johnson”). She did not offer Plaintiff a

job, but asked what she would be doing the next week. Plaintiff said that she would “be

around” and gave Johnson her cell phone number. Plaintiff never heard back and never

followed up with Johnson. The assistant principal at Thelma Smiley Morris Elementary

called Plaintiff on the Friday before school started, asking her to go to an interview in the

next hour or two. Plaintiff said that she could not make the interview because she had a part

time job, and asked whether she could interview on Monday. The assistant principal said

that the job would be filled by then. Plaintiff had no other interviews during the summer of

2004.

         Plaintiff told Hicks that she desperately needed a job. During the first week of

school, Hicks called Plaintiff about a substitute position teaching kindergarten at Highland

Gardens Elementary for a teacher on maternity leave. Plaintiff accepted the position, but

                                             8
     Case 2:05-cv-00852-MEF-TFM Document 29 Filed 01/08/07 Page 9 of 17




resigned after four weeks because she could see that the school system had no plans to hire

her full-time. She knew that there were job openings and heard that they were being filled,

mostly by younger teachers right out of school. Plaintiff claims that she was not considered

for these positions.

       Plaintiff filed her EEOC charge on November 29, 2004, and her right-to-sue letter

was dated July 1, 2005. On September 2, 2005, she filed suit in this Court (Doc. # 1).

Defendant filed a Motion for Summary Judgment on October 5, 2006 (Doc. # 15).

                                      IV. Discussion

       Plaintiff has abandoned her ADA claim (see Doc. 21 at 1). The Court will therefore

address only her ADEA claim.

A. Failure to Exhaust Administrative Remedies

       “As a general rule, an employee who wishes to sue his employer for age

discrimination must first file an administrative charge of discrimination with the EEOC.”

Hipp v. Liberty Nat’l Life Ins. Co., 252 F.3d 1208, 1217 (11th Cir. 2001). “The period in

which a person must file a complaint with the EEOC depends on whether a state is a ‘deferral

state’ under the ADEA.” Jones v. Dillard’s, Inc., 331 F.3d 1259, 1263 (11th Cir. 2003).

Deferral states have a state agency equivalent to the EEOC. Id. (citing 29 U.S.C. §§ 626(d),

633). In those states, an age discrimination claim must be filed with the EEOC within 300

days after the alleged unlawful practice occurred. Id. (citing § 626(d)(2)). In states without

a state agency equivalent to the EEOC, the charge must be filed within 180 days. Id. (citing

§ 626(d)(1)). Alabama is not a deferral state, so, in order to be timely, Plaintiff’s ADEA

                                              9
     Case 2:05-cv-00852-MEF-TFM Document 29 Filed 01/08/07 Page 10 of 17




claim must have been brought to the EEOC within 180 days of the adverse employment

action challenged in the claim. See id.

       Each discrete discriminatory act such as termination or refusal to hire “starts a new

clock for filing charges alleging that act. The charge, therefore, must be filed within the 180-

or 300-day time period after the discrete discriminatory act occurred.” Nat’l R.R. Passenger

Corp. v. Morgan, 536 U.S. 101, 113 (2002); see Robinson v. Regions Fin. Corp., 242 F.

Supp. 2d 1070, 1076 (M.D. Ala. 2003) (applying Morgan to ADEA claims). Discrete acts

that fall outside the statutory time period are time-barred, even if they are related to acts

falling within that time period. Morgan , 536 U.S. at 113.

       The decisions to nonrenew Plaintiff at the end of each school year were discrete acts.

As such, only those that occurred within 180 days of Plaintiff’s filing of her administrative

charge of discrimination with the EEOC are actionable. Plaintiff’s notice of nonrenewal was

dated May 19, 2004. The date before which no discrete act is actionable, 180 days prior to

the filing of the EEOC charge, was June 2, 2004. The Court thus finds that all employment

actions, except for the decision not to hire Plaintiff for the 2004-2005 school year, are time-

barred. However, the Court will consider relevant prior acts as background evidence for her

timely claim. See Morgan, 536 U.S. at 113.

B. Merits

       The ADEA makes it “unlawful for an employer . . . to fail or refuse to hire or to

discharge any individual or otherwise discriminate against any individual with respect to his

compensation, terms, conditions, or privileges of employment, because of such individual’s

                                              10
     Case 2:05-cv-00852-MEF-TFM Document 29 Filed 01/08/07 Page 11 of 17




age.” 29 U.S.C. § 623(a)(1).

              When a plaintiff alleges disparate treatment, ‘liability depends
              on whether the protected trait (under the ADEA, age) actually
              motivated the employer’s decision . . . . That is, the plaintiff’s
              age must have ‘actually played a role in [the employer’s
              decisionmaking] process and had a determinative influence on
              the outcome.’

Reeves v. Sanderson Plumbing Prods., Inc., 530 U.S. 133, 141 (2000) (quoting Hazen Paper

Co. v. Biggins, 507 U.S. 604, 610 (1993)). Courts have often recognized that this inquiry

implicates analyses of the mental processes of employers for which there is seldom eye-

witness testimony. See id. Consequently, they have applied some variation on the

framework articulated in McDonnell Douglas Corp. v. Green, 411 U.S. 792 (1973), and its

progeny to analyze ADEA cases brought primarily on circumstantial evidence. Reeves, 530

U.S. at 141 (collecting cases); Turlington v. Atlanta Gas Light Co., 135 F.3d 1428, 1432

(11th Cir.), cert. denied, 525 U.S. 962 (1998). Thus, an employee bringing a claim under

the ADEA must initially establish a prima facie case of discrimination through one of three

methods: presenting direct evidence of discriminatory intent, presenting circumstantial

evidence of discrimination by satisfying the analysis set forth in McDonnell Douglas and its

progeny, or introducing statistical evidence of discrimination.           See, e.g., Walker v.

NationsBank of Fla., N.A., 53 F.3d 1548, 1556 (11th Cir. 1995). Here, Plaintiff has

presented no direct or statistical evidence of discriminatory intent.

       As to circumstantial evidence of discrimination, under the McDonnell Douglas

analysis, the plaintiff must first establish a prima facie case of discrimination. In the context


                                               11
     Case 2:05-cv-00852-MEF-TFM Document 29 Filed 01/08/07 Page 12 of 17




of age discrimination, an employee must produce evidence that (1) she is a member of a

protected group of persons between the ages of forty and seventy; (2) she was qualified for

the position held; (3) she was subjected to an adverse employment action; and (4) a

substantially younger person filled the position that she sought or from which she was

discharged. See Damon v. Fleming Supermarkets of Fla., 196 F.3d 1354, 1359 (11th Cir.

1999); Turlington, 135 F.3d at 1432. “Demonstrating a prima facie case is not onerous; it

requires only that the plaintiff establish facts adequate to permit an inference of

discrimination.” Holifield v. Reno, 115 F.3d 1555, 1562 (11th Cir. 1997) (per curiam).

       The Court is satisfied that Plaintiff was over the age of forty and that a substantially

younger teacher, Abigail Garrard, was hired to replace Plaintiff at Vaughn Road Elementary.

However, it finds that Plaintiff has not met her burden of demonstrating a prima facie case

as to any of the other positions she sought for the 2004-2005 year. Plaintiff does not provide

evidence that the other principals she interviewed with following her May 2004 nonrenewal

hired substantially younger teachers for the positions she sought. In her Response, with

respect to her prima facie case, Plaintiff discusses only the May 2004 nonrenewal and

Defendant’s failure to hire her for the subsequent school year. Because Plaintiff has not met

the prima facie case for the failure-to-hire claim except for the Vaughn Road Elementary

position, and because the May 2004 nonrenewal claim is time-barred, the Court will address

only the failure-to-hire claim with respect to the Vaughn Road Elementary position.

       The parties dispute the other two elements of Plaintiff’s prima facie case. Defendant

argues that Plaintiff was not subjected to an adverse employment action. It argues that other

                                              12
     Case 2:05-cv-00852-MEF-TFM Document 29 Filed 01/08/07 Page 13 of 17




principals were interested in hiring Plaintiff, and she did not follow up with them. However,

viewing the facts in the light most favorable to Plaintiff, the Court concludes that her failure

to be hired at Vaughn Road Elementary for the 2004-2005 school year was an adverse

employment action. Defendant also contends that Plaintiff was not qualified for the

position. However, viewing the facts in the light most favorable to Plaintiff, the Court

concludes that she has met her burden as to her qualification for the position.

       Once a plaintiff establishes the requisite elements of the prima facie case, the

defendant has the burden of producing legitimate, nondiscriminatory reasons for the

challenged employment action. See, e.g., Holifield, 115 F.3d at 1564 (citing Texas Dep’t of

Cmty. Affairs v. Burdine, 450 U.S. 248 (1981)). The employer’s burden is “exceedingly

light.” Holifield, 115 F.3d at 1564 (quoting Turnes v. AmSouth Bank, N.A., 36 F.3d 1057,

1061 (11th Cir. 1994)). This burden is one of production, not persuasion, and consequently

the employer “need only produce evidence that could allow a rational fact finder to conclude

that [the employee’s] discharge was not made for a discriminatory reason.” Standard v.

A.B.E.L. Servs., Inc., 161 F.3d 1318, 1331 (11th Cir. 1998).

       Defendant’s proffered reason for the challenged employment action is that no

principal recommended that Plaintiff be hired for any position for the 2004-2005 school

year. It also puts forward Lindsey’s sworn statement that she did not recommend Plaintiff

because she had been nonrenewed three times by three different principals. Had Lindsey

recommended Plaintiff for hire and she was hired, she would not have been able to

nonrenew her for poor performance because Plaintiff would have gained tenure on her first

                                              13
     Case 2:05-cv-00852-MEF-TFM Document 29 Filed 01/08/07 Page 14 of 17




day of work.       The Court concludes that Defendant has presented a legitimate,

nondiscriminatory reason for its failure to hire Plaintiff.

       Thus, the burden now returns to Plaintiff to supply “evidence, including the previously

produced evidence establishing the prima-facie case, sufficient to permit a reasonable

factfinder to conclude that the reasons given by the employer were not the real reasons for

the adverse employment decision.” Davis v. Qualico Miscellaneous, Inc., 161 F. Supp. 2d

1314, 1322 (M.D. Ala. 2001) (citing Chapman, 229 F.3d at 1024). “Because the plaintiff

bears the burden of establishing pretext, [s]he must present ‘significantly probative’ evidence

on the issue to avoid summary judgment.” Young v. Gen. Foods Corp., 840 F.2d 825, 829

(11th Cir. 1988). The plaintiff may seek to demonstrate that the proffered reason was not the

true reason for the employment decision “either directly by persuading the court that a

discriminatory reason more likely motivated the employer or indirectly by showing that the

employer’s proffered explanation is unworthy of credence.” Burdine, 450 U.S. at 256;

Combs v. Plantation Patterns, 106 F.3d 1519, 1528 (11th Cir. 1997). “[A] plaintiff’s prima

facie case, combined with sufficient evidence to find that the employer’s asserted

justification is false, may permit the trier of fact to conclude that the employer unlawfully

discriminated.” Reeves, 530 U.S. at 148.

       “Provided that the proffered reason is one that might motivate a reasonable employer,

an employee must meet that reason head on and rebut it, and the employee cannot succeed

by simply quarreling with the wisdom of that reason.” Chapman, 229 F.3d at 1030. “The

inquiry into pretext centers upon the employer’s beliefs, and not the employee’s own

                                              14
     Case 2:05-cv-00852-MEF-TFM Document 29 Filed 01/08/07 Page 15 of 17




perceptions of his performance.” Holifield, 115 F.3d at 1565. As long as an employer’s

beliefs were honest, they can be mistaken without it implying that the employer acted with

discriminatory motive. See Rojas v. Florida, 285 F.3d 1339, 1342 (11th Cir. 2002) (“We are

not interested in whether the conclusion is a correct one, but whether it is an honest one . .

. . [O]ur sole concern is whether unlawful discriminatory animus motivates a challenged

employment decision.” (quotation omitted)).

       An ADEA plaintiff “faces a difficult burden [where] all of the primary players behind

his termination . . . were well over age forty and within the class of persons protected by the

ADEA.” Elrod v. Sears, Roebuck and Co., 939 F.2d 1466, 1471 (11th Cir. 1991). Lindsey,

who did not recommend Plaintiff for employment, was over the age of fifty. Moreover, to

the extent that Plaintiff looks to her nonrenewals for evidence of pretext, all of the principals

who gave her nonrenewals were over the age of forty and older than Plaintiff.

       To meet her burden, Plaintiff must show that Defendant’s reason that it did not hire

her was pretext. To do so, she presents evidence that Defendant’s claims regarding her

performance are false. She presents affidavits from parents of children in her classes

attesting to her teaching skills. She also provides her PEPE evaluations, which she claims

demonstrate her good performance. She further relies on the certificate she received during

the 2003-2004 school year which recognized her as an outstanding reading teacher.

       The evidence Plaintiff presents is not sufficient to show that Defendant’s proffered

reason is a pretext for discrimination. She provides no evidence that Lindsey’s failure to

recommend that she be hired for the 2004-2005 school year was based on her age. Plaintiff

                                               15
     Case 2:05-cv-00852-MEF-TFM Document 29 Filed 01/08/07 Page 16 of 17




has not demonstrated that Lindsey was aware of the opinions of the parents who provided

the affidavits she has submitted. Given that the employment decision at issue was made by

someone wholly unconnected to the decision makers for her three nonrenewals, it is not

enough to show that her three nonrenewals may have been, or even were, based on age

discrimination. Even assuming arguendo that Plaintiff’s nonrenewals were based on her age,

Plaintiff must show some connection between the alleged prior discriminatory acts and the

decision she is challenging, that is, the decision not to hire her for the 2004-2005 school year.

Cf. Simms v. Oklahoma ex rel. Dep’t of Mental Health & Substance Abuse Servs., 165 F.3d

1321, 1330 (10th Cir. 1999) (“[C]onclusive assertion[s] [that prior incidences of alleged

discrimination demonstrate pretext are] not probative of pretext unless the prior incidences

. . . can somehow be tied to the employment actions disputed in the case at hand.”). Plaintiff

has failed to show that Lindsey was aware that Plaintiff’s nonrenewals were based on age

discrimination. She has further failed to demonstrate that the decision not to hire her was not

based on her three nonrenewals and the fact that she would have gained tenure on the first

day of school had she been hired. A plaintiff’s conclusory allegations are simply not

sufficient to demonstrate discrimination by the defendant. See Earley v. Champion Int’l

Corp., 907 F.2d 1077, 1081 (11th Cir. 1990) (“[T]he plaintiff must . . . present concrete

evidence in the form of specific facts which show that the defendant’s proffered reason is

mere pretext. Mere conclusory allegations and assertions will not suffice.”). Plaintiff has

failed to meet her burden to show that Defendant’s legitimate, nondiscriminatory reason was

pretext for discrimination.

                                               16
Case 2:05-cv-00852-MEF-TFM Document 29 Filed 01/08/07 Page 17 of 17




                               V. Conclusion

 For the reasons set forth above, it is hereby ORDERED that:

 (1) Defendant’s Motion for Summary Judgment (Doc. # 15) is GRANTED.

 (2) The trial and pretrial hearing are CANCELED.

 (3) This Court will enter a separate final judgment taxing costs.

 DONE this the 8th day of January, 2007.



                                             /s/ Mark E. Fuller
                                    CHIEF UNITED STATES DISTRICT JUDGE




                                      17
